                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                            NO.   7:10-CR-26-2D
                            NO.   7:10-CR-26-3D
                            NO.   7:10-CR-26-4D

UNITED STATES OF AMERICA

           v.

DOMINGO FLORES PORCAYO
JOSE PERES
LAZARO CASTAYO MENDEZ


                     PRELIMINARY ORDER OF FORFEITURE

      WHEREAS, pursuant to the entry of Memorandum of Plea

Agreements entered into by the defendants, DOMINGO FLORES

PORCAYO, JOSE PERES, and LAZARO CASTAYO MENDEZ, the following

property is hereby forfeitable pursuant to 21 U.S.C. § 853, to

wit, $1,165.00 seized from Jose Peres on October 21, 2009, $54.00

seized from Lazaro Mendez on October 21, 2009 and $16,150.00

seized from 938 Ricefield Branch Road, Leland, North Carolina;

and

      WHEREAS, by virtue of said Memorandum of Plea Agreement, the

United States is now entitled to possession of said property

pursuant to 21 U.S.C. § 853;

      It is hereby ORDERED, ADJUDGED and DECREED:

      1.   That based upon the Memorandum of Plea Agreements as to

the defendants, DOMINGO FLORES PORCAYO, JOSE PERES, and LAZARO

CASTAYO MENDEZ, the United States is hereby authorized to seize

the above-stated property, and it is hereby forfeited to the




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United States for disposition in accordance with the law, subject

to the provisions of 21 U.S.C.     §       853(n), as allowed by Fed. R.

Crim. P. 32.2 (b) (3).   In accordance with Fed. R. Crim. P.

32.2(b) (3), this Order is now final as to the defendants.

     2.    That upon sentencing and issuance of the Judgment and

Commitment Order, the Clerk of Court is directed to incorporate a

reference to this Preliminary Order of Forfeiture in the

applicable section of the Judgment, as required by Fed. R. Crim.

P. 32.2 (b) (3).

     3.    That pursuant to 21 U.S.C.         §   853(n), the United States

shall publish notice of this Order and of its intent to dispose

of the property in such manner as the Attorney General directs,

by publishing and sending notice in the same manner as in civil

forfeiture cases, as provided in Supplemental Rule G(4).                 Any

person other than the defendants, having or claiming any legal

interest in the subject property must file a petition with the

Court within 30 days of the publication of notice or of receipt

of actual notice, whichever is earlier.

     The petition must be signed by the petitioner under penalty

of perjury and shall set forth the nature and extent of the

petitioner's right, title, or interest in the subject property,

and must include any additional facts supporting the petitioner's

claim and the relief sought.




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     4.       That upon adjudication of all third party interests

this Court will enter a Final Order of Forfeiture pursuant to 21

u.S.C.    §   853, as required by Fed. R. Crim. P. 32.2(c).

     SO ORDERED.       This     n     day O f ~ , 2010.



                                               S C. DEVER, III
                                               ed States District Judge




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